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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION

UNITED STATES OF AMERICA

VS.                                 4:96CR00233-19-WRW

TIMOTHY LARONE CURRY


                                          ORDER

       Pending is Defendant Motion for Expungement (Doc. No. 1331). The Motion is

DENIED for lack of jurisdiction.1

       IT IS SO ORDERED this 19th day of January, 2010.



                                                         /s/Wm. R. Wilson, Jr.
                                                   UNITED STATES DISTRICT JUDGE




       1
       See U.S. v. Meyer, 439 F.3d 855 (8th Cir. 2006) (A district court lacks jurisdiction to
expunge a criminal record “based solely on equitable grounds.”).

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